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                                           Pert   lA$gal    Provisign

           30.     Complete Agreement: The defendant acknowledges thatno threats, promises, or

   representations have been made, nor agreemonts reached, other than those set forth in this

    document, to induce the defendantto plead      guilty. This document is the complete and only Plea

    Agreement between the defendant and the United States Attorney for the'Southem District        of

    Indiana and is binding only on the parties to the Plea Agreement, supersedes all prior

    understandings,   if   any, whether writtenor oral, and cannot be modified except in writing, signed

    by all parties and filed with the Cout, pr on the record in open court.



                                                            Respectfu   lly submitted,

                                                            JOHN E. CHILDRESS
                                                            Acting United Stat€s Attorney


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                                                            Kelsey L. Sfassa
                                                            Assistant United States Attorney


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    pdre I                                                  Barry D,
                                                            Deputy                and Violent Crime Unit


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    ffi--                                                   Defendant

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                                                             Counsel for




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